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     Trial Attorneys
3    U.S. Department of Justice
4    Antitrust Division
     450 Golden Gate Avenue, Room 10-0101
5    San Francisco, California 94102-3478
     Telephone: (415) 436-6660
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7
8                        IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              Case No. 2:11-CR-511-04 WBS
12
           Plaintiff,                       STIPULATION AND PROPOSED
13                                          ORDER TO CONTINUE JUDGEMENT
                    v.                      AND SENTENCING
14
     ANTHONY B. JOACHIM,                    Judge: Hon. William B. Shubb
15                                          Place: Courtroom 5
16         Defendant.
                                            Hearing Date: April 14, 2014
17
18
19                                   STIPULATION
20        The defendant in the above-entitled case, Anthony B.
21   Joachim, is on the Court’s calendar for judgment and sentencing
22   on April 14, 2014.
23        Defendant Joachim entered a guilty plea before the Court on
24   December 30, 2013.      Before changing his plea, Mr. Joachim and
25   co-defendants Andrew B. Katakis, Donald M. Parker, and W.
26   Theodore Longley were on the Court’s calendar for a trial
27   commencing on January 28, 2014.        See United States v. Katakis,

28   et al., Cr. No. S-11-511 WBS.        Trial against remaining

     STIPULATION TO CONTINUE JUDGEMENT AND SENTENCING
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1    defendants Katakis, Parker, and Longley is still set to commence
2    on January 28.     According to defense counsel, trial may not
3    conclude until March 14, 2014.
4         The government will not be able to fully determine its
5    sentencing recommendation for defendant Joachim, including
6    participating in the preparation of the pre-sentence report,
7    until after the conclusion of the trial in the related case.
8         Therefore, per agreement with defense counsel, it is
9    respectfully requested that the judgment and sentencing hearing
10   for defendant Joachim that is currently set for April 14, 2014
11   be continued to August 4, 2014 at 10:00 a.m.         The United States
12   Probation Office is in accord with this approach.
13        IT IS SO STIPULATED.
14
15   Dated:     January 14, 2014
16                                       Respectfully submitted,
17
18                                       /s/ Anna Tryon Pletcher
                                         Anna Tryon Pletcher
19                                       Tai S. Milder
                                         May Lee Heye
20                                       Kelsey C. Linnett
21                                       Trial Attorneys
                                         U.S. Department of Justice
22                                       Antitrust Division
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24
                                         /s/_Thomas A. Johnson
25                                       Thomas A. Johnson*
                                         Counsel for Anthony B. Joachim
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27
28   * Signed with permission.

     STIPULATION TO CONTINUE JUDGEMENT AND SENTENCING
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1
2                                        ORDER
3         For the reasons stated above, the Court continues the
4    judgment and sentencing hearing for defendant Anthony B. Joachim
5    from April 14, 2014 to August 4, 2014.
          IT IS SO ORDERED.
6
7    Dated:   January 14, 2014
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     STIPULATION TO CONTINUE JUDGEMENT AND SENTENCING
